 1
 2

 3                                              EXHIBIT A

 4                             COMPENSATION BY PROFESSIONAL
                              APRIL 1, 2020 THROUGH APRIL 30, 2020
 5
          The professionals who rendered professional services in these chapter 11 cases during the
 6
     Fee Period are:
 7

 8   Professional                    Level                           Rate           Hours             Fees
 9
     2020 Audit Services
10   Cochran, James                  Partner/Principal            $410.00           2.5       $1,025.00
     Gillam, Tim                     Partner/Principal            $410.00          25.5      $10,455.00
11
     Pemberton, Tricia               Partner/Principal            $410.00          14.5       $5,945.00
12   Donahue, Nona                   Managing Director            $410.00           3.5       $1,435.00
     Meredith, Wendy                 Managing Director            $410.00          35.9      $14,719.00
13   Jin, Yezi                       Senior Manager               $350.00           9.1       $3,185.00
14   Kamra, Akanksha                 Manager                      $310.00          18.0       $5,580.00
     Kanekar, Anish                  Manager                      $310.00           4.0       $1,240.00
15   Long, Brittany                  Manager                      $310.00          27.5       $8,525.00
16   Misra, Saurabh                  Manager                      $310.00           6.0       $1,860.00
     Nkinzingabo, Rudy               Manager                      $310.00          16.2       $5,022.00
17   Azebu, Matt                     Senior Consultant            $260.00          22.5       $5,850.00
     Bhatia, Sagar                   Senior Consultant            $260.00           5.5       $1,430.00
18
     Dam, Vivian                     Senior Consultant            $260.00          14.0       $3,640.00
19   Fazil, Mohamed                  Senior Consultant            $260.00          22.5       $5,850.00
     Hamner, Jack                    Senior Consultant            $260.00           1.0        $260.00
20
     Hennessy, Vincent               Senior Consultant            $260.00           1.0        $260.00
21   Kipkirui, Winnie                Senior Consultant            $260.00          22.3       $5,798.00
     Martin, Blake                   Senior Consultant            $260.00           1.0        $260.00
22
     Rice, Blake                     Senior Consultant            $260.00          46.5      $12,090.00
23   Varshney, Swati                 Senior Consultant            $260.00          39.9      $10,374.00
     Yuen, Jennifer                  Senior Consultant            $260.00          33.4       $8,684.00
24
     Bedi, Arpit                     Consultant                   $210.00          29.7       $6,237.00
25   Boyce, Kyle                     Consultant                   $190.00         135.0      $25,650.00
     Brown, Erin                     Consultant                   $190.00         156.5      $29,735.00
26   Chopra, Harshita                Consultant                   $190.00          91.0      $17,290.00
27   Gupta, Deepak                   Consultant                   $210.00           2.5        $525.00
     K, Kavya                        Consultant                   $210.00           4.0        $840.00
28



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 1   Kapoor, Sameer           Consultant                    $190.00        0.2             $38.00
 2   Khan, Shabeer            Consultant                    $190.00        0.6           $114.00
     Nambiar, Sachin          Consultant                    $210.00        0.5           $105.00
 3   M, Ashwin                Consultant                    $210.00        5.0          $1,050.00
     Ramkumar, Vignesh        Consultant                    $210.00        5.0          $1,050.00
 4
     Schloetter, Lexie        Consultant                    $210.00      174.0         $36,540.00
 5   Shariff, Salman          Consultant                    $190.00        1.0           $190.00
     Uy, Rycel                Consultant                    $210.00        1.0           $210.00
 6
     Professional Subtotal:                                              978.3        $233,061.00
 7
     Professional             Level                           Rate         Hours              Fees
 8

 9   2020 California Wildfires
     Gillam, Tim              Partner/Principal             $810.00        9.0          $7,290.00
10   Pemberton, Tricia        Partner/Principal             $810.00        1.5          $1,215.00
11   Meredith, Wendy          Managing Director             $810.00        6.5          $5,265.00
     Azebu, Matt              Senior Consultant             $510.00        4.5          $2,295.00
12   Schloetter, Lexie        Consultant                    $410.00        1.5           $615.00
13   Professional Subtotal:                                               23.0         $16,680.00

14
     Professional             Level                           Rate         Hours              Fees
15
     2020 Post Bankruptcy Matters
16   Basilico, Ellen          Partner/Principal             $810.00        1.0           $810.00
     Clark, Brian             Partner/Principal             $810.00        1.5          $1,215.00
17
     Dineen, Sean             Partner/Principal             $810.00        5.5          $4,455.00
18   Gerstel, Ken             Partner/Principal             $810.00        0.8           $648.00
     Gillam, Tim              Partner/Principal             $810.00       46.5         $37,665.00
19
     Graf, Bill               Partner/Principal             $810.00        0.5           $405.00
20   Kilkenny, Tom            Partner/Principal             $810.00        0.5           $405.00
     Pemberton, Tricia        Partner/Principal             $810.00        4.5          $3,645.00
21
     Pidgeon, Andrew          Partner/Principal             $810.00       14.1         $11,421.00
22   Weller, Curt             Partner/Principal             $810.00        2.0          $1,620.00
     Donahue, Nona            Managing Director             $810.00        0.5           $405.00
23   Meredith, Wendy          Managing Director             $810.00       50.1         $40,581.00
24   Sasso, Tony              Managing Director             $810.00        0.3           $243.00
     Domingue, Rob            Senior Manager                $700.00       14.7         $10,290.00
25   Luong, Mimi              Senior Manager                $700.00        3.1          $2,170.00
26   Allen, Jana              Manager                       $610.00       20.0         $12,200.00
     Nkinzingabo, Rudy        Manager                       $610.00        3.0          $1,830.00
27   Azebu, Matt              Senior Consultant             $510.00        6.0          $3,060.00
28   Rice, Blake              Senior Consultant             $510.00        2.0          $1,020.00
     Xu, Zhixin               Senior Consultant             $510.00       44.0         $22,440.00


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 1   Yuen, Jennifer            Senior Consultant            $510.00        3.5          $1,785.00
 2   Schloetter, Lexie         Consultant                   $410.00       11.5          $4,715.00
     Shi, Yuxin                Consultant                   $410.00       23.5          $9,635.00
 3   Professional Subtotal:                                                259.1      $172,663.00

 4
     Professional                Level                          Rate        Hours             Fees
 5
     2020 Registration Statement and Financing Reviews
 6
     Pemberton, Tricia           Partner/Principal           $810.00         2.0        $1,620.00
 7   Meredith, Wendy             Managing Director           $810.00         4.5        $3,645.00
     Azebu, Matt                 Senior Consultant           $510.00         6.0        $3,060.00
 8   Hamner, Jack                Senior Consultant           $510.00         0.5         $255.00
 9   Martin, Blake               Senior Consultant           $510.00         0.5         $255.00
     Rice, Blake                 Senior Consultant           $510.00         4.0        $2,040.00
10   Varshney, Swati             Senior Consultant           $510.00         0.8         $408.00
11   Biswas, Sampa               Consultant                  $370.00         1.0         $370.00
     Boyce, Kyle                 Consultant                  $370.00         0.5         $185.00
12   Brown, Erin                 Consultant                  $370.00         2.5         $925.00
13   Chopra, Harshita            Consultant                  $370.00        13.3        $4,921.00
     Patha, Prem                 Consultant                  $370.00         0.5         $185.00
14   Schloetter, Lexie           Consultant                  $410.00         0.5         $205.00

15   Professional Subtotal:                                                 36.6       $18,074.00

16
     Professional                Level                          Rate        Hours             Fees
17
     2020 Regulatory Accounting
18   Gillam, Tim                 Partner/Principal           $810.00         0.5         $405.00
     Meredith, Wendy             Managing Director           $810.00         2.0        $1,620.00
19
     Azebu, Matt                 Senior Consultant           $510.00         0.5         $255.00
20   Rice, Blake                 Senior Consultant           $510.00         2.0        $1,020.00
     Schloetter, Lexie           Consultant                  $410.00         3.0        $1,230.00
21
     Professional Subtotal:                                                  8.0        $4,530.00
22
23   Professional                Level                          Rate        Hours             Fees

24   Preparation of Fee Applications
     Jin, Yezi                   Senior Manager              $330.00        22.9        $7,557.00
25
     Rice, Blake                 Senior Consultant           $230.00         2.0         $460.00
26   Gutierrez, Dalia            Project Controller          $200.00        23.5        $4,700.00
     Professional Subtotal:                                                 48.4       $12,717.00
27

28   Total                                                               1,353.4      $457,725.00



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